              Case 24-31363-jal               Doc 1       Filed 05/24/24           Entered 05/24/24 17:09:56                    Page 1 of 14


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mikesell Trading LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA 1370 Collective
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10428 Bluegrass Parkway
                                  Louisville, KY 40299
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Jefferson                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       1370collective.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Mikesell Trading LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4482

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Mikesell Trading LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Mikesell Trading LLC                                                          Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Mikesell Trading LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 24, 2024
                                                  MM / DD / YYYY


                             X /s/ Evan Mikesell                                                          Evan Mikesell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Director of Operations




18. Signature of attorney    X /s/ Charity S. Bird                                                         Date May 24, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charity S. Bird
                                 Printed name

                                 Kaplan Johnson Abate & Bird LLP
                                 Firm name

                                 710 West Main Street
                                 Fourth Floor
                                 Louisville, KY 40202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (502) 540-8285                Email address      cbird@kaplanjohnsonlaw.com

                                 92622 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                     RESOLUTION OF THE SOLE MEMBER OF
                          MIKESELL TRADING LLC

                                       May 14, 2024
       The undersigned, being the sole member of MIKESELL TRADING LLC (the
"Company"), hereby adopts the following recitAls and resolutions pursuant to the Operating
Agreement of the Company, dated on or around May 21, 2018 (the "Company Agreement").
Capitalized terms not otherwise defmed herein have the meaning set forth in the Company
Agreement.

        WHEREAS, the Member has determined that the Company does not have sufficient
assets on hand to meet its financial obligations as they come due; and

        WHEREAS, the Member has determined that it is necessary and in the best interests
of the Company and its creditors, and in furtherance of the Company's purposes, for the
Company to seek the protection of title 11 of the United States Code (the "Bankruptcy Code")
by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

       NOW, THEREFORE, BE IT RESOLVED that Evan T. Mikesell, as Member of the
Company, is authorized and directed to execute and deliver all documents necessary to
commence the Company's voluntary chapter 11 bankruptcy case to be filed in the United
States Bankruptcy Court for the Western District of Kentucky.

        FURTHER RESOLVED that Evan T. Mikesell, as Member of the Company, is
authorized and directed to appear on behalf of the Company in all bankruptcy proceedings,
and to perform all acts and deeds and execute and deliver all necessary instruments on behalf
of the Company in connection with its bankruptcy case, provided, however, that Mr. Mikesell
may delegate such responsibilities to be exercised by another individual; and
       FURTHER RESOLVED that the Company is authorized and directed to employ the
law firm of Kaplan Johnson Abate & Bird LLP to represent the Company in its bankruptcy
case.

        IN WITNESS WHEREOF, the sole member has executed this Resolution on the date
first written above.



        Mikesell, Member




                    RESOLUTION OF THE SOLE MEMBER OF MIKESELL TRADING LLC
                                        May 14, 2024
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Fill in this information to identify the case:

Debtor name         Mikesell Trading LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 24, 2024                    X /s/ Evan Mikesell
                                                           Signature of individual signing on behalf of debtor

                                                            Evan Mikesell
                                                            Printed name

                                                            Director of Operations
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Mikesell Trading LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Credit card                                                                                               $118,121.80
 PO Box 981535                                       charges
 El Paso, TX
 79998-1535
 Capital One                                         Credit card                                                                                                   $9,696.42
 PO Box 105474                                       charges
 Atlanta, GA
 30348-5474
 Elan Polo, Inc.                                                                                                                                                 $55,000.00
 2005 Walton Rd
 Saint Louis, MO
 63114
 Internal Revenue                                                              Disputed                                                                           Unknown
 Service                                                                       Subject to
 P.O. Box 7346                                                                 Setoff
 Philadelphia, PA
 19101-7346
 Kentucky                                                                      Disputed                                                                           Unknown
 Department of                                                                 Subject to
 Revenue                                                                       Setoff
 PO Box 5222
 Frankfort, KY 40602
 Legend Advance                                                                Disputed                                                                          $28,180.17
 Funding
 800 Brickell Ave
 Suite 902
 Miami, FL 33131
 Marcus Goldman                                                                                                                                                $103,923.16
 Sachs
 PO Box 45400
 Salt Lake City, UT
 84145-0400
 Marketplace Valet                                                                                                                                                 $2,391.83
 240 Teller St
 Corona, CA 92879




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Mikesell Trading LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Net Sports LLC                                                                                                                                                    $6,984.00
 Exclusive Sports
 600 W. John St
 Hicksville, NY 11801
 One Source                                                                                                                                                          $576.25
 Logistics, LLC
 PO Box 34697
 Louisville, KY 40232
 Pajar Canada                                                                                                                                                      $6,810.64
 4509 Av. Coloniale
 Montreal, QC H2T
 1V8
 CANADA
 Puma North                                                                                                                                                      $68,816.54
 America Inc.
 10 Lyberty Way
 Westford, MA 01886
 SellersFunding Corp                                 All tangible and                                      $152,684.41               $675,609.49               $111,373.35
 1290 Weston Road                                    intangible
 Suite 306                                           personal property
 Weston, FL 33326
 SellersFunding Corp                                 All tangible and                                         Unknown                $675,609.49                  Unknown
 1290 Weston Road                                    intangible
 Suite 306                                           personal property
 Weston, FL 33326
 Unishippers Global                                                                                                                                                $8,795.71
 Logistics LLC
 LRH Solutions Inc
 119 Evergreen Road
 PO Box 436191
 Louisville, KY 40243
 Vida Shoes                                                                                                                                                      $69,300.00
 International
 29 West 56th St.
 New York, NY 10019




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                                               United States Bankruptcy Court
                                                     Western District of Kentucky
 In re   Mikesell Trading LLC                                                                    Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Director of Operations of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:     May 24, 2024                                   /s/ Evan Mikesell
                                                         Evan Mikesell/Director of Operations
                                                         Signer/Title
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x




                          Amazon Capital Services, Inc.
                          410 Terry Ave. N.
                          Seattle, WA 98109

                          American Express
                          PO Box 981535
                          El Paso, TX 79998-1535

                          Capital One
                          PO Box 105474
                          Atlanta, GA 30348-5474

                          Corporation Service Company
                          for: SellersFunding
                          801 Adlai Stevenson Drive
                          Springfield, IL 62703

                          Corporation Service Company
                          for: Rapid Finance
                          801 Adlai Stevenson Drive
                          Springfield, IL 62703

                          Elan Polo, Inc.
                          2005 Walton Rd
                          Saint Louis, MO 63114

                          Fasanara Securitisation S.A.
                          For: Compartment L
                          36-38 Grand- Rue
                          Grand Duchy of Luxembourg LU L-1660

                          Harmon Shoes Of Kentucky LLC
                          2855 Nepperhan Rd
                          Louisville, KY 40218

                          Highland Brands LLC
                          10428 Bluegrass Pkwy
                          Louisville, KY 40299

                          Internal Revenue Service
                          P.O. Box 7346
                          Philadelphia, PA 19101-7346

                          Kentucky Department of Revenue
                          PO Box 5222
                          Frankfort, KY 40602

                          Legend Advance Funding
                          800 Brickell Ave
                          Suite 902
                          Miami, FL 33131

                          Lien Solutions
                          P.O. Box 29071
                          Glendale, CA 91209-9071
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                      Marcus Goldman Sachs
                      PO Box 45400
                      Salt Lake City, UT 84145-0400

                      Marketplace Valet
                      240 Teller St
                      Corona, CA 92879

                      Martinez Law PA
                      Attn: Christopher A. Martinez
                      2525 Ponce de Leon Blvd, Suite 300
                      Coral Gables, FL 33134

                      MCK Investments & Consulting LLC
                      Matt Kubancik
                      11403 Saratoga Ridge Dr
                      Louisville, KY 40299

                      Evan Mikesell
                      2855 Nepperhan Road
                      Louisville, KY 40218

                      Net Sports LLC
                      Exclusive Sports
                      600 W. John St
                      Hicksville, NY 11801

                      Office of the U. S. Attorney
                      Western District of Kentucky
                      For: Internal Revenue Service
                      717 West Broadway
                      Louisville, KY 40202

                      Office of the U. S. Attorney
                      Western District of Kentucky
                      For: U.S. Small Business Administration
                      717 West Broadway
                      Louisville, KY 40202

                      One Source Logistics, LLC
                      PO Box 34697
                      Louisville, KY 40232

                      Pajar Canada
                      4509 Av. Coloniale
                      Montreal, QC H2T 1V8
                      CANADA

                      Puma North America Inc.
                      10 Lyberty Way
                      Westford, MA 01886
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                      Rapid Finance
                      4500 East West Hightway
                      6th Floor
                      Bethesda, MD 20814

                      SellersFunding Corp
                      1290 Weston Road Suite 306
                      Weston, FL 33326

                      Unishippers Global Logistics LLC
                      LRH Solutions Inc
                      119 Evergreen Road
                      PO Box 436191
                      Louisville, KY 40243

                      US Small Business Administration
                      2 North Street, Suite 320
                      Birmingham, AL 35203

                      Vida Shoes International
                      29 West 56th St.
                      New York, NY 10019

                      Weston Inc.
                      1800 Production Court
                      Louisville, KY 40299
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                                         United States Bankruptcy Court
                                              Western District of Kentucky
 In re   Mikesell Trading LLC                                                       Case No.
                                                             Debtor(s)              Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Mikesell Trading LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 24, 2024                                   /s/ Charity S. Bird
Date                                           Charity S. Bird
                                               Signature of Attorney or Litigant
                                               Counsel for Mikesell Trading LLC
                                               Kaplan Johnson Abate & Bird LLP
                                               710 West Main Street
                                               Fourth Floor
                                               Louisville, KY 40202
                                               (502) 540-8285 Fax:(502) 540-8282
                                               cbird@kaplanjohnsonlaw.com
